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131 N. Tustin Avenue, Ste. 200
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Tel. (714) 505-7585 x250

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Attorney for Plaintiff

Billie Rene’ Frances Lillian Powers

BILLIE RENE’ FRANCES LILLIAN
POWERS,

Plaintiff,

VS.

COUNTRY WIDE HOME LOANS, INC.;
COUNTRY WIDE BANK, FSB;
COMMONWEALTH LAND TITLE
INSURANCE COMPANY; MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, )
INC, “MERS”; BANK OF AMERICA, N.A.; )
RECONTRUST COMPANY, N.A.; BAC )
HOME LOANS SERVICING, LP; QUALITY )
LOAN SERVICING CORPORATION ; )
SELECT PORTFOLIO SERVICING, INC.;
THE BANK OF NEW YOUR MELLON
F/K/A THE BANK OF NEW YORK, AS
TRUSTEE, ON BEHALF OF THE
HOLDERS OF THE ALTERNATIVE LOAN
TRUST2007-HY9, MORTGAGE PASS-
THROUGH CERTIFICATES SERIES 2007-
HY9; THE BANK OF NEW YOUR
MELLON F/K/A THE BANK OF NEW
YORK, AS TRUSTEE , FOR THE
CERTIFICATE HOLDERS, ALTERNATIVE )
LOAN TRUST 2007-HY9 MORTGAGE )
PASS THROUGH CERTIFICATES, SERIES )
2007-HY9; JON SECRIST; ANDDOES | TO )
50,

Defendant(s).

 

Filed 10/30/17 Page 1of21 Page ID#:

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SANTA ANA DIVISION

Case No.: SACV17-01386-DOC-KES

EX PARTE APPLICATION FOR
TEMPORARY RESTRAING ORDER AND
ORDER TO SHOW CAUSE WHY
PRELIMINARY INJUNCTION SHOULD
NOT BE ISSUED

Date: 11/02/2017
Time: 8:30
Dept: 9D

Judge: Hon. David O. Carter

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Please take notice that by this motion, Plaintiff does hereby move this honorable court for
an immediate order restraining and enjoining defendants and their agents, employees, and
person acting with them or on their behalf from taking possession of, selling or attempting to
sell the property that is the subject of the underlying complaint together with the personal
property contained thereon.

Plaintiff further moves the Court to enjoin the above named defendants and their agents
from moving to evict or evicting Plaintiff (or if lockout has already occurred restoring Plaintiff
into possession) from said property while the Court litigates the Complaint on the basis of the
merits. Plaintiff also moves for an order directing defendants to Show Cause why a preliminary
or permanent injunction should not be granted.

Plaintiff further requests that any bond requirement be waived. See Gilmore v. Wells
Fargo Bank N.A., 2014 WL 3749984, at *6 (N.D. Cal. July 29, 2014) (“[A] court ... has the
discretion to waive the bond requirement if there is a high probability of success that equity
compels waiving the bond, the balance of the equities overwhelming favors the movant, it
appears unlikely that the defendant will suffer any harm as a result of the preliminary
injunction, or the requirement of a bond would negatively impact the movant’s constitutional
rights.”).

The attached Memorandum of Points and Authorities ppbrts this motion.

  
  

Date: October 30, 2017 Ry spectfu

Richard W. Snyder, Esq.
Attorney for Plaintiff

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MEMORANDUM OF POINTS AND AUTHOIRTIES IN SUPPORT OF MOTION FOR
TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
I
INTRODUCTION

On or about April 13, 2007, the plaintiff Billie Rene’ Frances Lillian Powers (‘Plaintiff’)
executed a Residential Purchase Agreement and Joint Escrow Instructions respecting her
intended purchase of the real property located at 40701 Ortega Hwy, San Juan Capistrano
(unincorporated), CA 92530 (“Property”). Plaintiff took possession of the Property on or about
July 2, 2007 and resided thereat at all times subsequent thereto but prior to the filing of the First
Amended Complaint (“FAC”) in this matter. From the very moment of the opening of the
purchase escrow through the filing of the FAC, Plaintiff has been the victim of numerous fraud
schemes respecting the title to the Property. In the purchase escrow, there existed a promissory
note purportedly secured by a deed of trust. As a result of the fraudulent conveyances, neither
the Plaintiff nor the lender nor its purported successors received any interest in the Property.
Thus, the entity ultimately conducting the foreclosure sale lacked authority to do so rendering the
sale invalid.

In addition, on or before May 4, 2010, the entity servicing the promissory note
accelerated the balance due on the promissory note. The acceleration of the balance due
commenced the six year statute of limitations prescribed by Cal. Comm. Code § 3-118. On
August 8, 2016, more than six years after the acceleration of the debt a trustee’s sale was
conducted. As a result of the expiration of the statute of limitations, the entity conducting the

foreclosure sale lacked authority to do so.

Fraud in the Grant Deed
In the process of the purchase, on or about April 17, 2007, a document titled “Additional
Escrow Instructions” was executed. The instructions indicated that title was to be vested in

Plaintiff solely (see Exhibit “1”). On April 26, 2007, the seller of the Property Roger Lee

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Delong (“Seller”) executed a Grant Deed (the “True Grant Deed”) naming Plaintiff as the sole
grantee. On May 15, 2007, and addendum to the Residential Purchase Agreement was prepared
reconfirming the fact that Plaintiff was the sole buyer (see Exhibit “2”). On May 29, 2007, the
Plaintiff received 2 documents each titled “Escrow Modification”. Each of said documents
identified the Plaintiff as the sole buyer (see Exhibit “3”), again confirming that Plaintiff was the
sole buyer. Sometime between June 1, 2007 and June 15, 2007, the Plaintiff was advised by
Lender that she no longer qualified for the prospective loans and that she need to have a co-
signor. At this time, OVER A MONTH AFTER the True Trust Deed was executed and
notarized, the Plaintiffs sister and brother-in-law Louise J. Hanson and Jacqueline M. Hanson
agreed to co-sign (see Exhibit “4”).

At closing, on July 2, 2007, a materially altered version of the True Grant Deed (the
“Fraud Grant Deed”) was recorded! (see Exhibit “5”), The Fraud Grant Deed was altered to
remove the Plaintiff's name and then insert, with what appears to be a typewriter, the names
“Billie Rene Powers”, “Louise J. Hanson”, and “Jacqueline M. Hanson”.

Aside from the fact that Louis J. Hanson and Jacqueline M. Hanson were not named in
the escrow instructions nor a party to the Residential Purchase Agreement at the time the True
Trust Deed was executed and would therefore never be included in the documents theretofore
drafted, the notary Nancy F. Ganzon, who prior to August 2014 was a stranger’ to Plaintiff
executed an affidavit (see Exhibit “7”) wherein she testified and will further testify if needed,
that the Fraud Grant Deed, bearing her signature and notary stamp, is not the document that she
notarized, but instead is an altered version of the one she notarized. The post notarization

material alteration of the True Grant Deed rendered the Fraud Grant Deed void.

The Deed of Trust Failed to Convey Any Interest in the Property

 

1 All references to a document being “recorded” refer to being recorded in the office of the

County Recorder for the County of Orange, State of California unless clearly expressed or implied
otherwise.

2 In support of her testimony that she did not know the Notary Nancy F. Ganzon, Exhibit “6” is a
copy of a form for a complaint with the State of California, Secretary of State, Notary Public

Section, requesting information on the Notary.

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Pursuant to the illusory powers granted to her in the Fraud Grant Deed, on June 27, 2007,
Plaintiff executed a Deed of Trust (the “1*' DOT”, see Exhibit “8”) on her own behalf and on
behalf of Louis J. Hanson and Jacqueline M. Hanson via 2 powers of attorney. The Fraud Grant
Deed and the 1** DOT were recorded sequentially on July 2, 2007 as document numbers
2007000417170 and 2007000417171. On the 1* DOT, the “Lender” is Counrtywide Bank, FSB
(“Lender”), the “Trustee” was ReconTrust Company, N.A. (“DOT Trustee”), and Mortgage
Electronic Registration Systems, Inc, (“Mers”) a Delaware company was identified as the
“Beneficiary” acting solely as the nominee for Lender. Because the Fraud Grant Deed was void,
Plaintiff received nothing by way of the Fraud Grant Deed. In turn, when Plaintiff executed the
1" DOT and “conveyed” the Property to the DOT Trustee for the benefit of Mers as nominee for
Lender, Plaintiff had no interest in the Property to convey and the DOT Trustee, Mers, and

Lender received nothing.

Fraud in the Assignment of the 1** DOT

On or about October 26, 2010, a document titled “Corporate Assignment of Deed of
Trust” (“Assignment of DOT”, see Exhibit “9”) was recorded purporting to assign the 1" DOT to
The Bank of New York Mellon fka The Bank of New York, as Trustee, for the
Certificateholders CWALT Inc., Alternative Loan Trust 2007-HY9 Mortgage Pass-Through
Certificates, Series 2007-HY9 (“BONY as Trustee”)(emphasis added). The Assignment of DOT
was purportedly signed by Nichole Clavadetscher in her capacity as a Certifying Officer of Mers.
The Assignment of DOT was purported to have been notarized by Jon Secrist (“Secrist”), whose
notary commission number is 1893949.

On or about November 16, 2012, Plaintiff initiated a claim with Merchants Bonding
Company (“Bond Co”) who provided a notary bond for the notary, Secrist (see Exhibit “10”).
Through its claim Plaintiff alleged that the signature for Nichole Clavadetscher on the
Assignment of DOT was not genuine and therefore, Secrist’s representation on the notary
acknowledgement, made under penalty of perjury, that Nichole Clavadetscher personally

appeared before him, was false. In its November 29, 2012 reply letter asking for more

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information to substantiate the Plaintiff's claim, Bond Co stated that it only paid actual damages
(see Ex. “10”, pg 1, 1 3) and that policy limit was $15,000.00 (see Ex. “10”, pg 3). On or about
December 6, 2012, Plaintiff submitted a written “Proof of Claim” to Bond Co (see Exhibit “11”).
Thereafter, on or about February 27, 2013 (after nearly 3 month time to investigate its liability)
Bond Co paid Plaintiff the full policy limit of $15,000.00 in settlement of Plaintiff's claim (see
Exhibit “12”). The forged signature of Nichole Clavadetscher on the Assignment of DOT

rendered it void.

The Assignment of DOT was to BONY as Trustee, However Subsequent to the
Assignment, a Substitution of Trustee, a Notice of Default and a Trustee’s Deed Upon Sale
Were All Executed in a Different Name.

The Assignment of DOT purports to transfer the beneficial interest under the 1** DOT to
an entity named “The Bank of New York Mellon fka The Bank of New York, as Trustee, for the
Certificateholders CWALT Inc., Alternative Loan Trust 2007-HY9 Mortgage Pass-Through
Certificates, Series 2007-HY9” (emphasis added)(see Exhibit “9”).

On February 28, 2014, a Substitution of Trustee, purporting to substitute Quality Loan
Service Corporation (“Quality”) as a successor trustee to the DOT Trustee (see Exhibit “13”)
was recorded. On the 4" page of the Notice of Default, the beneficiary is identified as “The
Bank of New York Mellon fka The Bank of New York, as Trustee, on behalf of the holders of
the Alternative Loan Trust 2007-HY9 Mortgage Pass-Through Certificates, Series 2007-HY9”,
(“BONY for Wrong Trust”)(emphasis added). The beneficiary name on the Notice of Default is
materially different from that contained in the 1* DOT and the Assignment of DOT, in that the
words “for the Certificateholders of the Cwalt, Inc.” (in the 1* DOT and the Assignment of
DOT) was replaced with the words “on behalf of the holders” (in the Substitution of Trustee).
The name of the beneficiary making the substitution of trustee was clearly not BONY for Trustee
as identified on the 1* DOT and the Assignment of DOT.

On September 25, 2014, a Notice of Default, claiming to be a notice of default on the 1“

DOT (see Exhibit “14”, pg 2, circled item 1) was recorded. On the 4" page of the Notice of

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Default, the beneficiary was identified as BONY for Wrong Trust, the exact same way it was
identified in the Substitution of Trustee. The name of the beneficiary on behalf of which Quality
was recording the Notice of Default was clearly not BONY as Trustee, but rather was BONY for
Wrong Trust.

On August 8, 2016, a Trustee’s Sale was conducted by Quality and on August 8, 2016,
Quality recorded a Trustee’s Deed Upon Sale (see Exhibit “15’’). On the Trustee’s Deed Upon
Sale, the grantee was identified as BONY for Wrong Trust, the exact same way it was identified
in the Substitution of Trustee and the Notice of Default. The name of the beneficiary/grantee on
behalf of which Quality was conducted the trustee’s sale and on whose behalf Quality recorded
the Trustee’s Deed Upon Sale and who was the putative credit purchaser, was clearly not the
beneficiary identified on the 1*' DOT and the Assignment of DOT. Furthermore, on the
Trustee’s Deed Upon Sale, it states that the grantee on the Trustee’s Deed Upon Sale was the

foreclosing beneficiary, when clearly it was not.

The Statute of Limitations Expired prior to the Foreclosure Sale Rendering it Void.

At the time of closing of escrow on July, 2, 2007, there existed a promissory Note (the
“Note”) which was purportedly secured by the 1* DOT. In or about December, 2009, the
Plaintiff became of the belief that she did not owe a debt to Lender or its servicer at that time
BAC Home Loans Servicing, LP (“BAC”). Subsequent to January 1, 2010, the Plaintiff has
made no payments on the Note to anyone and has not acknowledged any debt to anyone. On or
about May 4, 2010, BAC sent the Plaintiff a letter demanding what it determined to be the
balance due on the Note (see Exhibit “17”). On May 6, 2010, BAC recorded a Notice of Default
wherein it declared the accelerated balance due (see Exhibit “18”). The acceleration of the
balance due commenced the six year statute of limitations prescribed by Cal. Comm. Code § 3-
118. On August 8, 2016, more than six years after the acceleration of the debt a trustee’s sale
was conducted. As a result of the expiration of the statute of limitations, the entity conducting

the foreclosure sale lacked authority to do so.

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II.
STANDING
In ¥Yvanova v. New Century Mortgage Corp., 62 Cal. 4th 919 (2016), the California
Supreme Court addressed "[u]nder what circumstances, if any, may the borrower challenge a
nonjudicial foreclosure on the ground that the foreclosing party is not a valid assignee of the
original lender." (Id. at p. 928.)

The California Supreme Court decided that question as follows:

"We conclude a home loan borrower has standing to claim a nonjudicial
foreclosure was wrongful because an assignment by which the foreclosing party
purportedly took a beneficial interest in the deed of trust was not merely voidable
but void, depriving the foreclosing party of any legitimate authority to order a
trustee's sale." (Id. at pp. 942-943.)

The court in Yvanova also considered whether a borrower must show prejudice when it
addressed the defendants’ argument that an allegedly invalid assignment leading to a foreclosure
by an unauthorized party causes no harm or prejudice to a borrower in default of a loan because
the actual holder of the beneficial interest under the deed of trust could have foreclosed on the
property. (Yvanova at 937.) The court stated:

"As it relates to standing, we disagree with defendants' analysis of prejudice from

an illegal foreclosure. A foreclosed-upon borrower clearly meets the general

standard for standing to sue by showing an invasion of his or her legally protected

interests [citation]|—the borrower has lost ownership to the home in an allegedly
illegal trustee's sale."

The court also rejected the view that an offer of tender of the amount of the secured
indebtedness, or an excuse of tender, was needed to establish the borrower's standing. (Yvanova

at 929, fn. 4.) In Yvanova, the California Supreme Court unanimously rejected the argument

 

that borrower standing required a showing of prejudice and a tender of the balance due on the
loan. (Yvanova at 929, fn. 4.) Under Yvanova, a borrower has standing to challenge a

foreclosure by an unauthorized entity. This is exactly the allegations herein.

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ITT.
STANDARD

In deciding whether to issue a preliminary injunction, a court must weigh two interrelated
factors: (1) the likelihood that the moving party will ultimately prevail on the merits and (2) the
relative interim harm to the parties from issuance or nonissuance of the injunction. (see Amoco
Production Co, v. Village of Gambell, Alaska, 480 U.S. 531, 541 (1987). The trial court’s
determination must be guided by a mix of the potential-merit and interim-harm factors; the
greater the plaintiff's showing on one, the less must be shown on the other to support the
injunction. A trial court may not grant a preliminary injunction, regardless of the balance of
interim harm, unless there is some possibility that the plaintiff, would ultimately prevail on the
merits of the claim. (Butt v. State of California (1992 4 Cal. 4" 668, 677-678, see generally
Code Civ. Proc., $§526.527).

The general purpose of [a preliminary] injunction is the preservation of the status quo
until a final determination of the merits of the action. (see Granny Goose Foods v. Brotherhood
of Teamsters & Auto Truck Drivers Local No. 70 of Alameda County, 415 U.S. 423, 439 (1974),
In IT Corp. v. County of Imperial, 35 Cal. 3d 63, at pages 69-70 (1983), the court stated “[By ]
balancing the respective equities of the parties, [the trial court] concludes that, pending a trial on
the merits, the defendant should or that she should not be restrained from exercising the right
claimed by her”. In this case, the standards are met. The Plaintiff has been forcibly evicted from
of her residential real property and has been forced to rely on the generosity of friends to shelter
herself and her minor daughter. This litigation could potentially last for years. As such, the
Plaintiff will suffer irreparable harm by being deprived of her home for an extended period of
time. In addition, without an order restraining defendants, there is a likelihood the defendants
will attempt to solidify their position by selling the home to a bona fide purchaser. The Plaintiff
has no adequate remedy if such actions occur. (see Arcamuzi v. Continental Air Lines, Inc., 819
F.2d 935, 937 (9"" Cir. 1987). Per the analysis below, the Plaintiff is substantially likely to
prevail on the merits because the deed through which the foreclosing party employed was forged

and as such, void. (see Ashcroft v. American Civil Liberties Union, 542 US 656, 665 (2004)).

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IV,
ARGUMENT FOR RELIEF
A recent California Supreme Court gave guidance to the trial courts that a borrower has

standing to sue for wrongful foreclosure based on an allegedly void assignment. (see Yvanova

 

supra.) In this case, the evidence will show that, as a result of 2 void conveyances and a missing
conveyance in the chain of title, Plaintiff has never held title to the Property, BONY as Trustee
has never held any interest in the Property whatsoever, and BONY for Wrong Trust has never
held any interest in the Property whatsoever. (BONY as Trustee and BONY for Wrong Trust are
hereinafter cumulatively referred to as “Defendants”). Having no interest in the Property, the
Defendants, and each of them, fraudulently moved forward with a non judicial foreclosure sale
of Plaintiff's property without any lawful authority to do so. As explained below, the facts
alleged in the amended complaint and the facts judicially noticeable do not establish an unbroken

or perfect chain of title from Plaintiff to either of the Defendants.

1. THE CHAIN OF TITLE FROM THE GRANT DEED THROUGH THE
TRUSTEE’S DEED UPON SALE IS BROKEN, RESULTING IN THE FORECLOSING
TRUSTEE LACKING AUTHORITY TO SELL THE PROPERTY.

"Links" in a chain of title are created by a transfer of an interest in the underlying
property from one person or entity to another. An examination of each link in the purported
chain of title relied upon by the Defendants reveals that certain links were not established.
Analysis begins with a description of each link in the purported chain (and each related
document), beginning with the Seller who sold the residence to Plaintiff and ending with the

trustee's sale to BONY for Wrong Trust.

Link 1 — Sale to the Plaintiff: Seller agreed to sell the Property to Plaintiff. On April 26, 2007
Seller executed the True Grant Deed granting a fee simple interest in the Property to Plaintiff and
delivered the True Grant Deed to West Coast Escrow. The True Grant Deed was never recorded

and therefore never delivered to the Plaintiff. Without delivery, the True Grant Deed failed to

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convey any interest in the Property to the Plaintiff. Sometime between April 26, 2007 and July

2, 2007, the True Grant Deed was materially altered into the Fraud Grant Deed. The forgery of

the Fraud Grant Deed is supported by the following facts:

I)

2)

4)

5)

6)

The Additional Escrow Instructions dated April 17, 2007, dated just 9 days prior
to the execution of the True Grant Deed, indicated title was to be in the name of
the Plaintiff only (see Exhibit “1”’).

On April 26, 2007, Seller executed the True Grant Deed naming Plaintiff as the
only buyer as per the Additional Escrow Instructions.

On May 15, 2007, an addendum to the Residential Purchase agreement was
prepared. The addendum identified the Plaintiff as the only buyer (see Exhibit
eZ}.

As of May 29, 2007, the Plaintiff received 2 documents titled “Escrow
Modification” and each identified Plaintiff as the only buyer (see Exhibit 3”).
On or about June 1, 2007, Lender advised the Plaintiff that she did not qualify for
the financing she sought and that she would need a co-signor. Between June 1,
2007 and June 13, 2007, long after the True Grant Deed was executed, the
Plaintiff's sister and brother-in-law Louis J. Hanson and Jacqueline M. Hanson
agreed to co-sign for the Plaintiff.

On June 15, 2007, an addendum to the Residential Purchase Agreement was
prepared stating that “Jackie and Louie Hanson and Rene Powers” will be on title
(see Exhibit “4”’).

The Closing Instructions dated June 27, 2007, dated after the True Grant Deed
was executed indicated title was to be in the name of the Plaintiff and Louis J.
Hanson.

On July 2, 2007, the Fraud Grant Deed, purporting to have been executed and
notarized on April 26, 2007, was recorded (see Exhibit 5”). The Fraud Grant
Deed was an altered version of the True Grant Deed. On the Fraud Grant Deed,

Plaintiff's name was removed, and someone using a typewriter, inserted the

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names “Billie Rene Powers”, “Louise J. Hanson”, and “Jacqueline M. Hanson”,
(the name “Louise” is a mis-spelling of Louis”).

7) On or about August 27, 2014, the notary Nancy F. Ganzon, who prior to August
2014 was a stranger to the Plaintiff, executed an affidavit (see Exhibit “7”),
wherein she testified and will further testify if needed, that the Fraud Grant Deed,
bearing her signature and notary stamp, is not the document that she notarized,
but instead is an altered version of the one she notarized.

In La Jolla Grp. II v. Bruce, 211 Cal.App.4" 461 (2014) the court stated that “a Deed that
has been materially altered after it was signed is a forgery.” The court in La Jolla Grp. II, went
on to cite Montgomery v. Bank of America, 85 Cal. App. 2d 559, 563 (1948) where the court
stated “Since the deed was altered without the knowledge, consent or approval of plaintiffs, after
it had been signed by them and transmitted to the escrow holder, it was void. The court in
Montgomery at 564 went on to cite Trout v. Taylor, 220 Cal. 652, 656 for the statement that a
“void instrument such as an undelivered or a forged deed does not convey anything and cannot
be made the foundation of a good title.” (Trout v. Taylor, 220 Cal. 652, 656 [32 P.2d 968])

Here, the Additional Escrow Instructions dated April 17, 2007, executed just 9 days prior
to the execution of the True Grant Deed clearly provided for title to be taken in the name of
Plaintiff only. On April 26, 2007, Seller executed and the notary notarized the True Grant Deed
to the Plaintiff only (as she was the only name on the Amended Escrow Instructions at that time
and the 2 co-signors had not appeared in the transaction and would not so appear until at least 30
days later) and thereafter it was delivered it to escrow. Sometime in the beginning of June 2007,
the Lender required a co-signor. The Plaintiff's relatives Louis J. Hanson and Jacqueline M.
Hanson agreed to co-sign, long after the True Grant Deed was executed. In preparation for
closing, on June 27, 2007, the 1° DOT was drafted to include all 3 names “Billie Rene Powers”,
“Louis J. Hanson”, and “Jacqueline M. Hanson”. However, rather than have the Seller execute a
new Grant Deed, someone altered the True Grant Deed by removing the name “Billie Rene
Powers” and typing into the document “Billie Rene Powers”, “Louise J. Hanson”, and

“Jacqueline M. Hanson” in an attempt to have it conform to the 1 DOT.

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The post notarization material alteration of the True Grant Deed rendered the Fraud Grant
Deed a forgery and as such it was and is now void. The Fraud Grant Deed could not and did not
convey anything to the Plaintiff and cannot and did not provide the foundation of a good title to

the Plaintiff. Link 1 in the chain of title is broken.

Link 2 - 1‘ DOT to Lender: Pursuant to the illusory powers granted to her in the Fraud Grant
Deed, on June 27, 2007, the Plaintiff executed the “1°* DOT”. Because the Fraud Grant Deed

was void, Plaintiff received nothing by way of the Fraud Grant Deed. In turn, when Plaintiff
executed the 1*' DOT and “conveyed” the Property to the DOT Trustee for the benefit of Mers as
nominee for Lender, Plaintiff had no interest in the Property to convey. “A mortgage assignment
is void, not merely voidable, where the assignor “had nothing to assign” or “no interest to
assign” Sciarratta v. U.S. Bank National Association, 247 Cal.App. 4th 552, 564 (2016) citing
Culhane v. Aurora Loan Services of Nebraska, 708 F.3d 282, 291 (1* Cir. 2013).

The Defendants can not rely on their putative status as a bona fide purchaser. In La Jolla
Grp. II at 477-478, the court, citing Schiavon v. Arnuado Brothers, 84 Cal.App. 4'" 374, 378
(2000), stated that “[a]lthough the law protects innocent purchasers and encumbrancers, that
protection extends only to those who obtained good legal title... [A] forged document is void ab
initio and constitutes a nullity; as such it cannot provide the basis for a superior title...” (citations
omitted, internal quotation marks omitted). Because of the failure of Link 1, Link 2 is

necessarily broken.

Link 3 - Purported Transfer via the Assignment of DOT: Link Three fails for 2 separate and
independent reasons.

1. The first is the natural continuation of the failure of Link | and Link 2. Since the
Plaintiff received nothing via the Fraud Grant Deed and therefore conveyed nothing via the 1*
DOT to the DOT Trustee as trustee for the benefit of Mers as nominee for Lender, Mers had
nothing to transfer to BONY as Trustee when Mers executed the Assignment of DOT. (see

Culhane, supra) Because of the failure of Link 1 and Link 2, Link 3 is necessarily broken.

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2. Notwithstanding the invalidity of the Assignment of DOT for the reasons
aforesaid, the Assignment of DOT fails because it is itself a forgery. The Assignment of DOT
purports to have been executed by a person named Nichole Clavadetscher and notarized by
Secrist. The Plaintiff suspected that the signature of Nichole Clavadetscher was a forgery and as
such, Secrist’s certification under penalty of perjury, that Nichole Clavadetscher personally
appeared before him, provided him with identification, and signed the document, is a false
statement.

On or about November 16, 2012, the Plaintiff initiated a claim with Bond Co against
Secrist’s notary bond (see Exhibit “10”). Through its claim Plaintiff alleged that the signature
for Nichole Clavadetscher on the Assignment of DOT was not genuine and therefore, Secrist’s
representation on the notary acknowledgement, made under penalty of perjury, that Nichole
Clavadetscher personally appeared before him, was false. In its November 29, 2012 reply letter
asking for more information to substantiate the Plaintiff's claim, Bond Co stated that it only paid
actual damages (see Ex. “10”, pg 1, {1 3) and that policy limit was $15,000.00 (see Ex. “10”, pg
3). On or about December 6, 2012, Plaintiff submitted a written “Proof of Claim” to Bond Co
(see Exhibit 11”). Thereafter, on or about February 27, 2013 (after nearly 3 month time to
investigate its liability) Bond Co paid Plaintiff the full policy limit of $15,000.00 in settlement of
Plaintiff's claim (see Exhibit “12”). The forged signature of Nichole Clavadetscher on the

Assignment of DOT rendered it void. Link 3 is broken.

Link 4 — Purported Transfer from BONY as Trustee to BONY for Wrong Trust:
Independent of the failure of Link 1, Link 2, and Link 3, Link 4 fails. On the Assignment of
DOT, the Property was purported to have been transferred from Mers as nominee for Lender to
BONY as Trustee. On the Substitution of Trustee, recorded on February 28, 2014, the
beneficiary was identified as BONY for Wrong Trust. The record is devoid of a transfer from

BONY as Trustee to BONY for Wrong Trust. Link Four is broken.

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Links 5, 6, and 7 — Substitution of Trustee, Notice of Default, and Trustee’s Deed Upon
Sale: Links 5, 6, and 7 all fail for the same reason. On February 28, 2014 a Substitution of
Trustee purporting to substitute Quality Loan Service Corporation (“Foreclosing Trustee”) in
place of the DOT Trustee. The Substitution of Trustee purports to be made by BONY for Wrong
Trust. Since there is no Assignment of the 1“ DOT to BONY for Wrong Trust, BONY for

Wrong Trust had no power to substitute the Foreclosing Trustee for the DOT Trustee. “[O]nly

the current beneficiary may direct the trustee to undertake the nonjudicial foreclosure process.”

Yvanova at 928. The appointment of the Foreclosing Trustee failed and Link 5 is broken.

Because BONY for Wrong trustee had no power to appoint the Foreclosing Trustee via
the Substitution of Trustee, the Foreclosing Trustee lacked any authority to record the Notice of
Default (see Exhibit “14”) and the Notice of Trustee’s Sale (see Exhibit “15”), and had no
authority to conduct the foreclosure sale and had no authority to issue a valid Trustee’s Deed
Upon Sale (see Exhibit “16”). Because of the independent failure of Link 5, Links 6 and 7

necessarily fail.

De THE STATUTE OF LIMITATION ON THE NOTE PRIOR TO THE NON-
JUDICIAL FORECLOSURE SALE RENDERING THE SALE INVALID.

On or about May 4, 2010, the purported owner of the Note, BAC, mailed a letter (see
Exhibit 17”) to the Plaintiff advising the Plaintiff that the balance was due on the Note and two
days later, the DOT Trustee, recorded a Notice of Default .

Under California Uniform Commercial Code section 1103, the provisions of the Code of
Civil Procedure pertaining to limitations of actions apply unless there is a special statute of
limitations set forth in the California Uniform Commercial Code. (Kaichen’s Metal Mart, Inc. v.
Ferro Cast Co., 33 Cal. App. 4" 8, 12-13 (1995); Bank of America v. Security Pacific Nat. Bank,
23 Cal. App 3d 638, 642, fn3). California Uniform Commercial Code section 3118, subdivision
(a), is a special statute of limitations for promissory notes, establishing “a six-year statute of
limitations, from the final due date, for promissory notes payable at a definite time.” (Cadle

Co.v. World Wide Hospitality Furniture, Inc., 144 Cal. App. 4" 504, 514, fn8; See Witkin, Cal.

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Procedure (4"" ed. 1996) Actions, § 453, p. 575.) Section 3118, subdivision (a) (§ 3118(a))
provides, "an action to enforce the obligation of a party to pay a note payable at a definite time
shall be commenced within six years after the due date or dates stated in the note or, if a due date
is accelerated, within six years of the accelerated due date." (Italics added.)

When BAC exercised its right to accelerate the debt by declaring the entire amount due
and sought to exercise this right through foreclosure, the statute began to run when "the creditor,
by some affirmative act, manifests his election" to enforce the acceleration clause upon a default.
(Garver v. Brace (1996) 47 Cal.App.4th 995, 1000; accord, Jones v. Wilton (1938) 10 Cal.2d
493, 500 (Jones); Trigg v. Arnott (1937) 22 Cal. App.2d 455, 458 (Trigg).) Even with a
mandatory acceleration clause, the limitations period does not accrue until the creditor
affirmatively declares a default. (Trigg, supra, 22 Cal.App.2d at p. 458.)

In this case, the balance of the Note was accelerated via the May 4, 2010 letter and the
May 6, 2010 Notice of Default. Thus, the foreclosure sale was required to occur prior to the
expiration of six years thereafter. In this case, the foreclosure sale did not occur until August 8,
2016, some six years and 3 months later.

The purported lien created by the 1" DOT is incidental to the principal obligation it
purports to secure, the Note, and is therefore deemed extinguished when the statute of limitations
runs on that principal obligation. (see CC §2911). A deed of trust “may not be nonjudicially
foreclosed under a power of sale clause, because the power to sell derives from the lien and is
extinguished along with the lien under CC § 2911” (see CEB California Mortgages, Deeds of
Trust, and Foreclosure Litigation § 3.18 citing Flack v. Boland, 11 C2d 103 (1938)).

Aside from the above arguments about the broken chain of title, the statute of limitations
on the Note expired on or about May 4, 2016 and the lien purporting to secure the Note was
extinguished by that expiration. As a result thereof, the Foreclosing Trustee lost whatever

authority it claimed rendering the foreclosure sale void.

V.
BOND REQUIREMENT

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A TRO typically is accompanied by payment of a bond “in such sum as the court deems
proper, for the payment of such costs and damages as may be incurred or suffered by any party
who is found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). However,
15 U.S.C. § 53(b) provides,

[u]pon a proper showing that, weighing the equities and considering the

Commission’s likelihood of ultimate success, such action would be in the public

interest, and after notice to the defendant, a temporary restraining order or a

preliminary injunction may be granted without bond.... 15 U.S.C. § 53(b)

(emphasis added).

As discussed above, the Fraud Grant Deed in and of itself renders all documents in the
defendants chain of to be void. Given Plaintiff's demonstrated likelihood of success on the
merits, a temporary injunction is in the public interest. Accordingly, the Court should not require

Plaintiff to post a bond. See 15 U.S.C. § 53(b).

IV.
CONCLUSION
For the foregoing reasons and for the evidence on file in this case, Plaintiff requests that
this honorable court grant a temporary restraining order forthwith and issue an order to the

Defendants to show cause why the preliminary injunction sho ot be granted.

  

Dated: October 30, 2017
/ Submitted,

 

Righard-W Snyder, Esq.
Attorney for the Plaintiff
Billie Rene’ Frances Lillian Powers

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DECLARATION OF BILLIE RENE’ FRANCES LILLIAN POWERS
1. I, Billie Rene’ Frances Lillian Powers, am the Plaintiff herein. I have personal
knowledge of all facts set forth herein and if called as a witness to testify thereto I could and
would do so,
a On or about April 13, 2007, I executed a Residential Purchase Agreement and Joint
Escrow Instructions respecting my intended purchase of the Property. I have resided thereat,
along with my minor daughter, at all times subsequent to the purchase through the filing of the
FAC in this matter. At this time, I have been evicted from the property and am relying on the
generosity of friends in order to shelter myself and my daughter.
3, West Coast Escrow handled the escrow.
4. In the process of the purchase, on or about April 17, 2007, I received a document titled
“Additional Escrow Instructions” from West Coast Escrow. The instructions indicated that title
was to be vested in myself solely. Attached hereto and identified as Exhibit “1” is a true and
correct unsigned copy of the Additional Escrow Instructions dated April 17, 2007.
Bs On April 26, 2007, the Seller executed the True Grant Deed naming myself as the sole
grantee. Thereafter, it was delivered to West Coast Escrow.
6. On May 15, 2007, an Addendum to the Residential Purchase Agreement was prepared
indicating myself as the sole buyer. Attached hereto and identified as Exhibit “2” is a true and
correct copy of the Addendum to the Residential Purchase Agreement dated May 15, 2007.
7. On May 29, 2007, I received 2 documents from West Coast Escrow both of which were
titled “Escrow Modification”. Each of said documents identified myself as the only buyer.
Attached hereto and identified as Exhibit “3” is a true and correct copy of the “Escrow
Modification” documents dated May 29, 2007.
8. Sometime between June 1, 2007 and June 15, 2007, I was advised by Lender that I no
longer qualified for the prospective loans an that I need to have a co-signor. At that time, OVER
A MONTH AFTER the True Trust Deed was executed and notarized, my sister and brother-in-

law Louise J. Hanson and Jacqueline M. Hanson agreed to co-sign. Attached hereto and

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identified as Exhibit “4” is a true and correct copy of the Addendum to the Residential Purchase
Agreement dated June 5, 2007.

9. At closing, on July 2, 2007, the Fraud Grant Deed was recorded which is a materially
altered version of the True Grant Deed. The Fraud Grant Deed was altered to remove the
Plaintiff's name and then insert, with what appears to be a typewriter, the names “Billie Rene
Powers”, “Louise J. Hanson”, and “Jacqueline M. Hanson”. Attached hereto and identified as
Exhibit “5” is a true and correct copy of the Fraud Grant Deed dated April 26, 2007.

10. Prior to August of 2014, I attempted to contact Nancy F. Ganzon, the notary who
notarized the True Grant Deed and whose signature and notary stamp appear on the Fraud Grant
Deed. At that time she was a stranger to me. When I was unable to find her, I placed a claim
against her notary bond. Attached hereto and identified as Exhibit “6” is a true and correct copy
of the Complaint Form dated February 25, 2014.

11. Sometime in August of 2014, I was contacted by the notary Nancy F. Ganzon. On or
about August 27, 2014, Nancy F. Ganzon executed an affidavit wherein she testified that the
Fraud Grant Deed, bearing her signature and notary stamp, is not the document that she
notarized, but instead is an altered version of the one she notarized. Attached hereto and
identified as Exhibit “7” is a true and correct copy of the Affidavit of Nancy F. Ganzon dated
February 25, 2014.

12. On June 27, 2007, I executed the 1 DOT on my own behalf and on behalf of Louis J.
Hanson and Jacqueline M. Hanson via 2 powers of attorney. The Fraud Grant Deed and the 1“
DOT were recorded sequentially on July 2, 2007 as document numbers 2007000417170 and
2007000417171. Attached hereto and identified as Exhibit “8” is a true and correct copy of the
1" DOT.

13. On October 26, 2010, the Assignment of DOT was recorded purporting to assign the 1"
DOT to BONY as Trustee. The Assignment of DOT was purportedly signed by Nichole
Clavadetscher in her capacity as a Certifying Officer of Mers. The Assignment of DOT was

purported to have been notarized by Secrist, whose notary commission number is 1893949,

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Attached hereto and identified as Exhibit “9” is a true and correct copy of the Assignment of
DOT.

14. On or about November 16, 2012, | initiated a claim with Bond Co, who provided a notary
bond for Secrist. Through my claim, I alleged that the signature for Nichole Clavadetscher on
the Assignment of DOT was not genuine and therefore, Secrist’s representation on the notary
acknowledgement, made under penalty of perjury, that Nichole Clavadetscher personally
appeared before him, was false. Attached hereto and identified as Exhibit “10” is a true and
correct copy of a November 29, 2012 letter I received from Bond Co in response to my claim. In
the letter Bond Co asked me for more information to substantiate my claim. Therein, Bond Co
stated that it only paid actual damages (see Ex. “10”, pg 1, {| 3) and that policy limit was
$15,000.00 (see Ex. “10”, pg 3).

LS. On or about December 6, 2012, I submitted a written “Proof of Claim” to Bond Co
respecting my claim. Attached hereto and identified as Exhibit “11” is a true and correct copy of|
my December 6, 2012 “Proof of Claim”.

16. | Onor about February 27, 2013 (after nearly 3 month time to investigate its liability)
Bond Co paid me the full policy limit of $15,000.00 in settlement of my claim. Attached hereto
and identified as Exhibit “12” is a true and correct copy of the $15,000.00 check I received from
Bond Co in settlement of my bond claim.

igs On February 28, 2014, a Substitution of Trustee, purporting to substitute Quality Loan
Service Corporation (“Quality”) as a successor trustee to the DOT Trustee was recorded.
Attached hereto and identified as Exhibit “13” is a true and correct copy of the Substitution of
Trustee.

18. On September 25, 2014, a Notice of Default, claiming to be a notice of default on the 1"
DOT was recorded. Attached hereto and identified as Exhibit “14” is a true and correct copy of
the Notice of Default.

19. On September 30, 2015, a Notice of Trustee’s Sale was recorded. Attached hereto and

identified as Exhibit “15” is a true and correct copy of the Notice of Trustee’s Sale.

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20. On August 8, 2016, a Trustee’s Sale was conducted by Quality and on August 16, 2016,
Quality recorded a Trustee’s Deed Upon Sale. Attached hereto and identified as Exhibit “16” is
a true and correct copy of the Trustee’s Deed Upon Sale.
21. | Onor about May 5, 2010, I received a letter from BAC advising me that the balance was
accelerated and the entire balance of $1,366,003.88 was then due. Attached hereto and identified
as Exhibit “17” is a true and correct copy of the said letter.
2, On or about May 6, 2010, the DOT Trustee recorded a Notice of Default advising the
Plaintiff that BAC had elected to sell the Property under the 1** DOT. Attached hereto and
identified as Exhibit “18” is a true and correct copy of the said Notice of Default.

I declare under penalty of perjury under the laws of the State of California and the United

States that the foregoing is true and correct. Executed at Tustin, California on October 24, 2017.
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